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                              EXHIBIT DD


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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                By Peter Wagner and Bernadette Rabuy
                January 25, 2017

                The cost of imprisonment — including who benefits and who pays — is a major part of the
                national discussion around criminal justice policy. But prisons and jails are just one piece of
                the criminal justice system and the amount of media and policy attention that the various
                players get is not necessarily proportional to their influence.

                In this first­of­its­kind report, we find that the system of mass incarceration costs the
                government and families of justice­involved people at least $182 billion every year. In this
                report:

                         we provide the significant1 costs of our globally unprecedented system of mass
                         incarceration and over­criminalization,
                         we give the relative importance of the various parts,
                         we highlight some of the under­discussed yet costly parts of the system, and then
                         we share all of our sources so that journalists and advocates can build upon our work.




https://www.prisonpolicy.org/reports/money.html                                                                          1/16
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                Our goal with this report is to give a hint as to how the criminal justice system works by
                identifying some of the key stakeholders and quantifying their “stake” in the status
                quo. Our visualization shows how wide and how deep mass incarceration and over­
                criminalization have spread into our economy. We find:

                         Almost half of the money spent on running the correctional system goes to paying
                         staff. This group is an influential lobby that sometimes prevents reform and whose
                         influence is often protected even when prison populations drop.2
                         The criminal justice system is                The government payroll for
                         overwhelmingly a public system, with          corrections employees is over 100
                         private prison companies acting only as       times higher than the private
                         extensions of the public system. The          prison industry’s profits.

https://www.prisonpolicy.org/reports/money.html                                                                        2/16
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                         government payroll for corrections employees is over 100 times higher than the
                         private prison industry’s profits.
                         Despite the fact that the Constitution requires counsel to be appointed for defendants
                         unable to afford legal representation, the system only spends $4.5 billion on this right.
                         And over the last decade, states have been reducing this figure even as caseloads have
                         grown.
                         Private companies that supply goods to the prison commissary or provide telephone
                         service for correctional facilities bring in almost as much money ($2.9 billion) as
                         governments pay private companies ($3.9 billion) to operate private prisons.
                         Feeding and providing health care for 2.3 million people — a population larger than
                         that of 15 different states3 — is expensive.

                This report and infographic are a first step toward better understanding who benefits from
                mass incarceration and who might be resistant to reform. We have no doubt that we missed
                some costs, and we did not include some costs because they are relatively small in the big
                picture or are currently unknowable. But, by following the money, one can see that private
                prison corporations aren’t the only ones who benefit from mass incarceration.

                Some of the lesser­known major players in the system of mass incarceration and over­
                criminalization are:

                         Bail bond companies that collect $1.4 billion in nonrefundable fees from defendants
                         and their families. The industry also actively works to block reforms that threaten its
                         profits, even if reforms could prevent people from being detained in jail because of
                         their poverty.
                         Specialized phone companies that win monopoly contracts and charge families up to
                         $24.95 for a 15­minute phone call.
                         Commissary vendors that sell goods to incarcerated people — who rely largely on
                         money sent by loved ones — is an even larger industry that brings in $1.6 billion a
                         year.

                A graphic like this shows the relative economic       State, not federal, government
                cost of different parts of mass incarceration, but    spending makes up the majority
                it can also obscure the fact that we don’t have a     of correctional spending.
                single monolithic system. Instead, we have a
                federal system, 50 state systems, and thousands
                of local government systems. Sometimes these systems work together, although often they
                do not; and looking at just the national picture can obscure the importance of state and local
                policy decisions. For example, while state government spending makes up the majority
                (57%) of corrections costs, local governments make up almost a third (32%).4 Local
                governments are largely enforcing state law, and local discretionary arrest and bail policies
                can have tremendous influence on both the state budget and justice outcomes. For example,
                more than half ($13.6 billion) of the cost of running local jails is spent detaining people who
                have not been convicted.5

                To be sure, there are ideological as well as economic reasons for mass incarceration and
                over­criminalization. But at this moment, when crime is near record lows and there is
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                increasing attention to the role of privatization in the justice system, we need a far more
                expansive view of how our criminal justice system works, whom it hurts, and whom it
                really serves.

                If we are to make our society safer and stronger, we’ll need to be making far smarter
                investments than we are today.



                Methodology and data sources

                While this report asks a very simple question about the financial costs of mass incarceration,
                a comprehensive answer has never existed before because the government doesn’t collect or
                organize these statistics in one place. Like our report, Mass Incarceration: The Whole Pie,
                which looked at who is behind bars and why, this report aggregates economic data that have
                never been put together before to offer a big picture view of who pays for and who benefits
                from mass incarceration.

                Before we explain our sources and methodology, it might be helpful to explain our goals and
                how this report’s finding that mass incarceration consumes at least $182 billion each year is
                different than the two more commonly cited Bureau of Justice Statistics figures:

                         $81 billion6 addressing only the cost of running the corrections system (prisons, jails,
                         parole, and probation), thereby missing the policing and court costs, and all of the
                         other costs that families have to pay to support their incarcerated loved ones.
                         $265 billion7, includes the costs of federal, state, and local corrections and the entire
                         police and court systems. This figure does not separate out the civil parts of the police
                         and court systems nor does it address the collateral costs paid by the families of
                         incarcerated people.

                This report’s goal is to identify the total cost of mass incarceration and the comparative
                investment that each part of that system has in the status quo. We wanted to take a holistic
                view without also exaggerating our findings by including tens of billions of dollars in
                policing and court expenses that have little to do with the enforcement of criminal law.

                In general, this report includes a number of firsts, including the identification of sufficient
                data points to develop national estimates where none existed before. But our approach does
                have a few weaknesses that other researchers building on this work should be aware of:

                         We decided not to include any expenses that do not appear to add up to at least $1
                         billion a year, for example, the money transfer industry, or the release card industry.
                         There are many items for which there are no national statistics available and no
                         straightforward way to develop a national figure from the limited state and local data.
                         For example, criminal justice fines and fees can be substantial. In at least 38 towns
                         and cities in the U.S., more than 10% of all revenue is collected from court fines and
                         fees. In St. Louis County, five towns generated more than 40% of their annual revenue
                         from court fines and fees in 2013. Given the tremendous variability between different
                         jurisdictions, we did not see a way to develop a national figure and decided not to
https://www.prisonpolicy.org/reports/money.html                                                                        4/16
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                         provide one at all. However, the existing research8 makes it clear that the insidious,
                         yet largely invisible system of fines and fees should be priority for research to drive
                         policy reform.
                         Our effort to separate out the civil components of policing and judicial and legal
                         expenditures cannot be considered complete, and some technically civil costs are
                         included in our report. As we explain in the sections on policing and the judicial and
                         legal system below, our adjustment is both rough and subject to definitional
                         weaknesses. We would, for future reports, be very interested in seeing studies that
                         estimate the civil vs. criminal breakdown in individual jurisdictions in order to
                         improve our national estimates. Moreover, we do include the cost of civil immigration
                         detention. While these facilities and the confinement there are technically civil, in
                         reality, they are quite like prisons. We also include civil asset forfeiture because civil
                         asset forfeiture is a mechanism by which law enforcement agencies can seize and
                         retain property on the suspicion that the property is connected to a crime.
                         There are other categories where the information is incomplete and therefore
                         undercounts the costs. For example, as we discuss in the public employees section
                         below, the figure for public employees doesn’t include state and local contributions to
                         retiree pensions because many governments make lump­sum contributions to
                         retirement systems and cannot separate out justice employees. Because existing data
                         systems were never designed to give this kind of holistic view, this report may
                         significantly understate the total fiscal cost. Another cost not included in this report
                         are the payouts that result from people suing criminal justice agencies for civil rights,
                         personal injury, and employment claims. We did not include this cost because the only
                         reliable way to quantify these expenses is to individually check jurisdiction­by­
                         jurisdiction. Many jurisdictions use special funds or risk retention pools to pay this
                         type of legal liability, and all payouts are budgeted to that centralized fund rather than
                         the agency, which is responsible for the underlying claim.9
                         We don’t fully track how money paid by families or seized from defendants is then
                         used by the system. For example, private telephone and commissary companies often
                         kickback a portion of their revenue to the government entity that awarded the contract.
                         While important, this revenue often goes to the state or county’s general fund, so we
                         chose not to include that complication.10 Similarly, revenue from civil asset forfeiture
                         is generally used to benefit the police or district attorney’s offices.
                         We don’t adjust for inflation and some of our data are older than others. In particular,
                         the only known data for food (2001), utilities (2001) and health care (2008) are
                         particularly old and are surely a significant understatement of current costs. We
                         considered adjusting the data for inflation, but concluded that it would not measurably
                         change the ratio between the different parts of the system. We also thought it would
                         make follow­up work by other researchers and advocates unnecessarily complicated
                         since finding the rarely­available figures is already difficult. (The sources and years
                         for the data are provided below.)

                What follows is a description of the data sources and assumptions used for each part of the
                infographic. Each circle’s area is in proportion with the value being represented. We
                welcome ideas on newer data sources, more precise estimates, and information on costs that
                we missed.
https://www.prisonpolicy.org/reports/money.html                                                                        5/16
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                Judicial and legal: The Bureau of Justice Statistics reports that the combined total of
                federal, state and local expenditures on the judicial and legal system was $57.9 billion in
                2012.11 Because these figures include both criminal and civil law aspects of the court
                system, we reduced this figure by world renowned criminologist Nils Christie’s estimate that
                50% of court expenditures were criminal law related. With rounding, our figure is $29.0
                billion. 12

                While our calculations are aimed at excluding costs associated with the civil justice system,
                it is important to recognize that mass incarceration has substantial economic impacts on civil
                courts. First, a material portion of the federal courts’ workload consists of habeas corpus
                petitions, motions to vacate sentences, complaints involving prison conditions and cases
                concerning the civil rights of incarcerated people. These are all reported as civil matters,
                even though they are driven by the system of mass criminalization. Data from the federal
                court system shows that such matters constituted 20% of district court civil filings and 48%
                of appellate court civil filings in the year ending in March 2015.13 Second, courts’ criminal
                caseloads can “squeeze out” civil cases.14 Since 1986, workloads for federal judges have
                increased, driven by the increase in criminal cases. Unlike civil cases, criminal defendants
                have a right to a speedy trial, which means that as criminal workload increases, judges are
                sometimes forced to prioritize criminal cases, resulting in a slower pace for civil matters and
                imposing opportunity costs on civil litigants. Presumably this dynamic is even more acute in
                state courts, which handle more criminal cases than the federal system.

                Judicial and legal expenditures include expenses for prosecutors ($5.8 billion in 2007)15 and
                for indigent defense ($4.5 billion in 2008).16 The indigent defense expenses include both
                public defender agencies and private counsel appointed by the courts; but it would not
                include the currently unknown number of billions paid by individuals and families to private
                defense and appellate attorneys.

                And notably, judicial and legal costs do not include monetary payments paid by
                governments when it is sued in a judicial or administrative proceeding.

                Policing: The Bureau of Justice Statistics reports in Justice Expenditure And
                Employment Extracts, 2012 that the combined total of federal, state and local expenditures
                on policing was $126.4 billion in 2012. Unfortunately and significantly, these figures do not
                include separate costs for the criminal and civil components of police work, so we used Nils
                Christie’s estimate that 50% of police expenditures are related to the enforcement of the
                criminal law to reduce the Bureau of Justice Statistics figure by half.17 We also note a
                Cincinnati, Ohio study, which found that police officers spend 33% of their time patrolling
                and 17% on crime calls. There is, obviously, an urgent need for more precise data on police
                expenditures for projects like this report and, more importantly, to help state and local
                governments make useful, comparative policy decisions about what are and what are not
                appropriate duties for law enforcement.

                In addition, note that because in most states, sheriffs’ departments are multifunctional
                agencies providing police protection, judicial, or correctional services, sheriffs’ expenditures

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                are prorated by function to corrections, policing, and judicial and legal.18

                Civil asset forfeiture: Our $4.5 billion figure reflects the net assets of the Department
                of Justice and Treasury forfeiture funds in fiscal year 2014 as reported on page 10 of the
                Institute for Justice’s 2015 report, Policing for Profit: The Abuse of Civil Forfeiture, 2nd
                Edition. According to the Institute for Justice, net assets are a more stable metric than annual
                deposits into the forfeiture funds (over $5 billion) because net assets measure the funds
                remaining after the government pays various obligations like payments to victims. Notably,
                this figure is an undercount of the total because it does not include state forfeiture revenue.
                According to the Institute of Justice, “Unfortunately, deriving similar totals at the state level
                is impossible because most states require little to no public reporting of forfeiture activity.
                However, of the [26] states from which the Institute for Justice was able to obtain usable
                data, the totals are” more than $254 million. (page 11)

                There is likely some overlap between the $4.5 billion net assets of the Department of Justice
                and Treasury forfeiture funds and the expenditures reported for the policing and judicial and
                legal systems. We didn’t adjust the policing and judicial and legal system figures because it
                is likely impossible to figure out how much overlap there is and to determine how the
                money is distributed among the various government agencies. The federal government and
                states vary in what percentage of the seized property can be kept by the law enforcement
                agency that seized the property.

                While this report adjusts policing and judicial and legal costs to focus on the criminal parts
                of these systems and exclude the civil parts, we include civil asset forfeiture because civil
                asset forfeiture is a mechanism by which law enforcement agencies can seize and retain
                property on the suspicion that the property is connected to a crime.

                Bail fees: In its report, For Better or For Profit: How the Bail Bonding Industry Stands in
                the Way of Fair and Effective Pretrial Justice, the Justice Policy Institute uses a figure of $14
                billion in bail bonds written every year, and cites its source as an email from Dennis Bartlett
                from the American Bail Coalition (which lobbies on behalf of the bail bondsman industry)
                in footnote 2 of the Executive Summary of the report. Since defendants and their family
                members typically pay 10% to commercial bail bond agencies as a nonrefundable fee, this
                comes out to $1.4 billion actually paid by the families. To learn more about the high costs of
                money bail in the U.S., see our report Detaining the Poor: How money bail perpetuates an
                endless cycle of poverty and jail time.

                Commissary: For our calculations of the total value of commissary expenditures, see
                Stephen Raher, Paging anti­trust lawyers: Prison commissary giants prepare to merge, July
                5, 2016. We assigned incarcerated people’s commissary purchases to a section on money
                spent by families precisely because incarcerated people don’t make very much money. Many
                people confined in jails don’t work, and four state prison systems19 don’t pay at all. And the
                states that pay for work aren’t much better. Looking at just the states that paid incarcerated
                people for non­industry work in 2001, the average minimum wage per day was 93 cents.
                Therefore, the majority of the money spent on commissary comes from the families of
                incarcerated people and not from the incarcerated people themselves.

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                As with the telephone industry (below), a portion of this cost to the families feeds back into
                the $81 billion correctional budgets via the corrupt commission system — where private
                companies provide commissary services for correctional facilities but share a percentage of
                the revenue with the government. In this way, it’s possible we are counting these dollars
                twice in our total estimate, although our methodology of ignoring costs under a billion
                dollars more than makes up for any double counting in this respect.

                Telephone calls: Lee Petro, pro bono counsel for the Wright Petitioners analyzed the
                2015 financial reports of 13 prison telephone companies, including the nation’s largest,
                which were required to submit that information to Alabama state regulators. For one large
                company, CenturyLink, he used the 2014 figure because an accounting change at that
                company included its other, non­prison related, businesses in the 2015 figure, but he expects
                the telephone figure for CenturyLink to be generally unchanged from 2014 to 2015. Other
                companies not regulated by the state of Alabama are not included, so this is a slight under­
                estimate. In some locations these costs are physically paid by incarcerated people and in
                some cases by the families, but regardless of who makes the payment, the source of the
                funds is almost entirely the families.

                A large portion of this cost to the families feeds back into the $81 billion correctional
                budgets via the corrupt commission system — where contracts are awarded not on the basis
                of the best price and service to the consumer but on the size of the revenue that is paid to the
                government authority that awards the monopoly contract. In this way, it’s possible we are
                counting these dollars twice in our total estimate, although our methodology of ignoring
                costs under a billion dollars more than makes up for any double counting in this respect.

                Public Corrections Agencies: The Bureau of Justice Statistics reports that the
                combined total of federal, state and local expenditures on corrections — which includes
                prisons, jails, juvenile facilities, probation and parole, and immigration detention was $80.7
                billion in 2012. Within this cost, we provide more detail:

                         Public employees: We multiplied the March 2012 payroll amount of $3,199,078,000
                         for the 749,418 corrections employees at the federal, state, and local level reported in
                         spreadsheet table 2 from Justice Expenditure And Employment Extracts, 2012 by 12
                         to get an annual figure of $38.4 billion. This figure doesn’t include state and local
                         contributions to retiree pensions because many governments make lump­sum
                         contributions to retirement systems and cannot separate out justice employees. For
                         more information on corrections retiree pension and health care costs by state, see
                         Vera Institute of Justice, Price of Prisons. In addition, this figure does not include
                         contractors.
                         Health care costs in the private and public prison systems cost at least $13.1 billion a
                         year, and our estimate is based on data from 2008. We used table 4 of State
                         Corrections Expenditures, FY 1982­2010 and the 44 states that reported total health
                         care expenditures in 2008 to calculate a national per capita cost of $5,688 which we
                         then multiplied by 2.3 million to arrive at a national figure. For our data visualization,
                         we proportionally applied this $13.1 billion health cost to the population in private
                         and government­run prisons, finding that the private prison operators are responsible
                         for $0.747 billion ($747 million) in costs which we considered too small to include on
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                         the visualization, and the government­run systems for $12.336 billion in costs. We
                         share several cautions to subsequent researchers:
                                This data is from 2008 and national health care costs are rising at more than
                                twice the rate of the consumer price index, so this figure could be much higher.
                                If correctional health care costs have risen at the same rate as national health
                                care costs, this cost could be over $16 billion today. (For different measures of
                                inflation, see Tom’s Inflation Calculator.)
                                There is tremendous variation in the data, raising some questions about both the
                                quality of care being provided and how different states calculate their data. We
                                note that the highest per capita cost was in California at $11,986 and the lowest
                                was in Illinois of $2,217. By these figures, 15.3% of the national correctional
                                health care expenditures are in the California state prison system.
                                For our national estimate, we used state prison costs to estimate jail costs. If
                                medical costs are higher in jails due to screening and treating the 11 million
                                people who pass through jails each year (as seems likely), then this figure
                                would be a significant understatement.
                                It is possible that some of these costs are also reflected in the correctional
                                employee payroll cost, but we think this overlap would be minimal.
                                Medications and medical supplies would be in health care and not labor; and a
                                lot of medical care is provided by contractors — either individual contractors or
                                private medical care companies like Corizon — so those workers would not
                                 also be reflected in the public employees category.20 Table 4 of Census of State
                                 and Federal Correction Facilities, 2005, supports our belief that we are not
                                 engaging in any substantial double counting as the table reports that just 10% of
                                 non­contractor staff are “professional/technical”. Reading further, we see that
                                 “professional and technical” staff include several other categories beyond
                                 medical such as chaplains and social workers. Therefore the portion of public
                                 employees that is medical must be under 10%. And because contractors do
                                 much of this work, the practical overlap is likely quite small and far smaller
                                 than the impact of inflation.

                Construction: Because construction costs can be highly variable, we averaged several
                recent years when it was possible to do so:
                                  Annual
                   Level of                       Years
                               Expenditure in                                Sourcing/notes
                 government                     averaged
                                  billions
                                               2005­       Local Government Corrections Expenditures, FY
                 Local        1.4
                                               2011        2005­2011, table 3
                                               2002­       State Corrections Expenditures, FY 1982­2010
                 State        1.8
                                               2010        appendix table 2
                                                           Bureau of Prisons 2014 budget request p. 3
                 Federal      0.1              2014        (although note, this may include some
                                                           maintenance.)
                 Total        3.3

                Interest payments: Many prisons are built with borrowed money. When governments
                borrow money, they usually issue bonds that pay interest to investors (typically institutional
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                investors such as pension funds). The principal amount of such bonds is already included in
                the construction­cost segment of our graphic. Because there is no available data on the
                interest expense associated with prison­specific bonds, we calculated that figure as follows.
                In recent decades, municipal bonds have paid interest for an average period of 18 years,
                according to the Securities Industry and Financial Markets Association (SIFMA) [Excel].
                Accordingly, to estimate the total interest expense in any given year, one must calculate the
                principal amount of bonds issued during the preceding 18 years. We looked at prison bonds
                from 1998 through 2015. For 2012 through 2015, we relied on SIFMA’s Municipal Bond
                Credit Report series, which reports the principal amount of all municipal bonds issued for
                construction of state and local correctional facilities. For years prior to 2012, we obtained
                state prison­bond figures from the National Association of State Budget Officers’ State
                Expenditure Report series (NASBO reports only state bonds; thus, we estimated local
                government bonds by calculating the ratio of state­to­local correctional facility bonds in
                2012­15, and extrapolating local bond issuances for 1998­2011 based on the same ratio).
                The aforementioned calculations resulted in an estimated principal amount of $47.4 billion
                between 1998 and 2015. Unfortunately there is no way to know what interest rate the
                different bonds were paying, so we calculated interest by conservatively assuming an
                average rate of 4%, although actual rates for prison bonds are likely higher.

                Food: Food is another large factor where the data is hard to access. The Bureau of Justice
                Statistics reports in State Prison Expenditures, 2001 (table 5) that the per capita food cost
                was $955 per year — $2.62 per day. Multiplying this figure by 2.3 million incarcerated
                people produces a total annual expenditure of $2.197 billion. Because our visualization
                separates out private prisons, we multiplied the annual figure by the number of people in
                private prisons, and concluded that $125 million was too small to include in the graph. The
                far larger number of people confined in publicly run prisons, however, sums to $2.071
                billion and is labeled on the data visualization.

                Utilities: The Bureau of Justice Statistics reports in State Prison Expenditures, 2001
                (table 5) that the per capita utility cost was $795 per year. Multiplying this figure by 2.3
                million incarcerated people produces a total expenditure of $1.8 billion. Because our
                visualization separates out private prisons, we multiplied the annual figure by the number of
                people in private prisons, and concluded that $104 million was too small to include in the
                infographic. The far larger number of people confined in publicly run prisons, however,
                sums to $1.7 billion and is labeled on the data visualization. Given that energy costs have
                been rising faster than inflation, this could be much higher. Utility costs should not be
                ignored because, as Ruth Gilmore explains in Golden Gulag: Prisons, Surplus, Crisis and
                Opposition in Globalizing California, prisons (and large jails) are essentially small cities
                with the water, heating and electrical demands of — as you would expect once you begin to
                see the facilities that way — small cities.

                Private Corrections and Private Prison Profits: To illustrate both the scale of
                the private prison industry and the critical fact that this industry works under contract for
                government agencies — rather than arresting, prosecuting, convicting and incarcerating
                people on its own — we displayed these companies as a subset of the public corrections
                system.

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                This industry is dominated by two large publicly traded companies — CoreCivic (which
                until recently was called Corrections Corporation of America (CCA)) and The GEO Group
                — as well as one small private company, Management & Training Corp (MTC). We relied
                on the public annual reports of the two large companies, and estimated MTC’s figures using
                records from a decade­old public record request.

                         In 2015, CoreCivic (Corrections Corporation of America) received $911.8 million in
                         federal money from its various prison­related contracts. This equates to about 51% of
                         its total annual revenue. (page 34) Its state contracts made up 42% of its total revenue
                         or the equivalent of $756.9 million in 2015. (page 10) Adding these two figures
                         together gets a total revenue for CoreCivic from state and federal contracts of $1.67
                         billion. Page 52 of its 2015 annual report says its “net income” (aka profits) was $222
                         million. These profits may include profits beyond private prisons such as CoreCivic’s
                         profits from providing transportation services for governmental agencies (page 8) but
                         we were not aware of a way to get CoreCivic’s profits for corrections and detention
                         only.
                         The second largest private prison company is The GEO Group. Page 79 of its 2015
                         Annual Report stated its revenues totaled $1.84 billion. Page 79 provides that $1.4
                         billion of its 2015 revenue was from U.S. corrections and detention (states, BOP, U.S.
                         Marshals, and ICE) and $341 million was from GEO Care, which includes electronic
                         monitoring, residential youth facilities, halfway houses, etc. This sums to $1.7 billion
                         for U.S. corrections and detention and GEO Care. Page 20 of GEO’s annual report
                         says its “net income attributable to The GEO Group” was $139 million. Note that
                         these profits may include profits beyond private prisons such as profits from The GEO
                         Group’s international private prison contracts. We are not aware of a way to get The
                         GEO Group’s profits for U.S. corrections and detention and reentry only.
                         Using MTC’s own records received through a public record request a decade ago, we
                         found that MTC had an average per­incarcerated person revenue for 2005 and 2006 of
                         $15,567. Using the current capacity of 31,962, we calculated that MTC’s estimated
                         current correctional revenue is $498 million or $0.5 billion. We also calculated the
                         average profit margin from its operations in the same time period and found a profit
                         margin of 2.7%, which allowed us to estimate $13.4 million in profits. Because this
                         data is among our older data and we are not adjusting for inflation, this is probably an
                         under­estimate. (If MTC’s profits are proportional to its share of the current market
                         for privatized corrections, its profits are likely $80 million.21 That margin of error
                         would be important to the owners of MTC, but to people concerned about the future
                         of mass incarceration, it is almost inconsequential.)

                In sum, we estimate that the three companies received $3.9 billion in revenue from mass
                incarceration and immigration detention and made $0.37 billion in profits ($374 million).

                The figure for private corrections is one area where we are including civil and criminal
                costs. While these immigration detention facilities, many of which are private,22 and the
                confinement there are technically civil, in reality, they are quite like prisons. People in
                federal prison for criminal convictions of violating federal immigration laws and people


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                detained civilly in local jails under contract with U.S. Immigration and Customs
                Enforcement are included in the public corrections costs.



                For further reading on some of the topics not fully explored in this report:

                         Institute for Advancing Justice Research and Innovation, The Economic Burden of
                         Incarceration in the U.S., which finds the aggregate burden of incarceration is $1
                         trillion by including costs like the criminogenic nature of prison, child welfare, and
                         homelessness of formerly incarcerated persons.
                         Who Pays: The True Cost of Incarceration on Families, a report from The Ella Baker
                         Center for Human Rights in collaboration with Forward Together and Research
                         Action Design, offers a comprehensive view of the harms of incarceration on families.
                         With particular emphasis on the disparate impact on women and the poor, the report
                         illustrates the extreme financial burden and emotional strain caused by incarceration:
                         families, not defendants, typically pay for court­related costs, phone calls and
                         visitation, and continue to support people upon their release. The report also outlines
                         the barriers formerly incarcerated people and their families face when it comes to
                         housing, public assistance, employment and educational opportunities. No other report
                         we know of gives such a complete picture of the far­reaching consequences of
                         incarceration on families.
                         The Vera Institute of Justice’s reports on the full taxpayer costs of corrections (not
                         including policing or the judicial and legal system): Price of Jails and Price of Prisons.
                         Price of Prisons is particularly useful for advocates and researchers who want to learn
                         more about how correctional spending works in a particular state. Based on surveys
                         sent to 40 states and 35 jail jurisdictions, the reports provide figures for the corrections
                         costs that are oftentimes overlooked because they are paid by non­correctional
                         government agencies or centralized government accounts.
                         Nascent industries that exploit incarceration people and their families:
                                 Video visitation industry
                                 Prison messaging industry
                                 Release card industry
                                 Money transfer industry (See Center for Public Integrity’s research on JPay and
                                 our investigation of the market’s size)
                                 In addition, Prison Legal News has published a list of major for­profit
                                 privatized prison services.



                Acknowledgements

                All Prison Policy Initiative reports are collaborative endeavors, but this report was
                particularly collaborative. It required multiple in­depth investigations to answer questions
                that had never successfully been answered before. The authors are indebted to James
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                Stephen Raher of our Young Professionals Network provided groundbreaking research on
                the commissary industry, the money transfer industry, and helped us understand several
                other key topics. Bob Machuga came up with the initial visual design allowing us to depict
                how the money of mass incarceration flows. Any errors or omissions in the final report,
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                Initiative’s work and who gives us the resources and the flexibility to quickly turn our
                insights into new movement resources.

                About the Prison Policy Initiative
                The non­profit, non­partisan Prison Policy Initiative has been shining a fresh light on how
                our criminal justice system really works since 2001. Through research, innovative media
                work, and intersectional organizing, our staff members shape national reform campaigns
                from our office in Western Massachusetts.

                About the authors

                Peter Wagner is an attorney and the Executive Director of the Prison Policy Initiative. He
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                prison gerrymandering.

                Some of his most recent work include exposing the entire mass incarceration pie,
                uncovering that prisons are disproportionately built in White areas, and working with Josh
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                He is @PWPolicy on Twitter.

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                Out Family Time: The for­profit video visitation industry in prisons and jails, finding that
                74% of local jails that adopt video visitation eliminate traditional in­person visits. Her
                research has played a key role in protecting in­person family visits in jails in Portland,
                Oregon and the state of Texas. In her other work with the Prison Policy Initiative, Bernadette
                has worked to empower the criminal justice reform movement with key but missing data
                through the annual Mass Incarceration: The Whole Pie reports and, most recently, Detaining
                the Poor: How money bail perpetuates an endless cycle of poverty and jail time.

                Bernadette is on Twitter at @BRabuy



                Footnotes
                     1. Except for private prison profits ($0.37 billion), we excluded costs of less than $1
                        billion from our infographic. ↩


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                     2. See the following for examples of prison and jail population declines not being
                        followed by proportional staffing reductions: California, New York State and New
                        York City. New York State law even gives the guard union what amounts to veto
                        power over prison closures. ↩
                     3. Alaska, Delaware, Hawaii, Idaho, Maine, Montana, Nebraska, New Hampshire, New
                        Mexico, North Dakota, Rhode Island, South Dakota, Vermont, West Virginia, and
                        Wyoming each has a population smaller than 2.3 million people. ↩
                     4. The federal government is responsible for only a small portion (10%) of correctional
                        expenditures. These percentages are based on the direct expenditures provided in
                        jeeus1201.csv from Bureau of Justice Statistics, Justice Expenditures and
                        Employment Extracts, 2012 ­ Preliminary. ↩
                     5. In order to calculate the cost of pretrial detention, we first needed to calculate the cost
                        of running local jails. The Bureau of Justice Statistics reports that local government
                        corrections spending in 2012 was $26,397,777,000, but this figure includes probation.
                        See jeeus1201.csv at Bureau of Justice Statistics in Justice Expenditures and
                        Employment Extracts, 2012 ­ Preliminary. Thus, we needed to subtract the cost of
                        probation from the local government corrections spending. To calculate the annual
                        probation costs, we used the probation costs per year per person ($1,250) reported by
                        the Pew Center on the States’ Public Safety Performance Project on page 12 of its
                        March 2009 report, One in 31: The Long Reach of American Corrections. Pew got
                        this cost from surveying 33 states in 2008. We multiplied $1,250 by the number of
                        people on probation in 2015 reported by the Bureau of Justice Statistics in Table 1 of
                        Probation and Parole in the United States, 2015: 3,789,800. Therefore, we found that
                        the annual cost of probation is $4,737,250,000. Now that we had figures for local
                        government corrections spending and probation, we subtracted the cost of probation
                        from the cost of local government corrections spending, and we got $21,660,527,000
                        as the annual cost of running local jails. Finally, we calculated the cost of pretrial
                        detention by multiplying the percentage of people pretrial in local jails in 2014
                        (62.8%) from Table 3 of Bureau of Justice Statistics, Jails in Midyear 2014 by local
                        spending on jails to arrive at $13.6 billion. Another available figure for the cost of
                        detaining people pretrial is roughly $9 billion, an estimate provided by former
                        Attorney General in a speech at the National Symposium on Pretrial Justice in 2011,
                        but we were unable to locate the source for this figure. We used the unadjusted
                        percentage for the pretrial population, which includes people held in local jails for
                        other authorities like Immigration and Customs Enforcement. We did not adjust for
                        people who are on probation and also on parole or incarcerated. ↩
                     6. See the corrections data, which is in the file jeeus1201.csv from the Bureau of Justice
                        Statistics, Justice Expenditure And Employment Extracts, 2012 based on data from
                        the Census Bureau’s Annual Survey of State and Local Government Finances and
                        Annual Survey of Public Employment and Payroll. ↩
                     7. See the total justice system data, which is in the file jeeus1201.csv of the Bureau of
                        Justice Statistics, Justice Expenditure and Employment Extracts 2012. ↩
                     8. See the groundbreaking 2015 report Who Pays: The True Cost of Incarceration on
                        Families, produced by Ella Baker Center for Human Rights, Forward Together and
                        Research Action Design, which surveyed 1,080 formerly incarcerated people and their
                        family members to find that families paid an average of $13,607 in court­related costs.

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                        Given the high costs and pervasiveness of fines and fees, the harm to impoverished
                        families can hardly be seen as an unintended consequence of reasonable policies. Also
                        see the persuasive argument that these costs amount to a system of “seizure” that taxes
                        poor families of the incarcerated “to subsidize the carceral state.” Katzenstein, Mary
                        Fainsod, and Maureen R Waller. “Taxing the Poor: Incarceration, Poverty
                        Governance, and the Seizure of Family Resources.” Perspectives on Politics 13.03
                        (2015): 639. ↩
                     9. See Gov’t Accounting Standards Bd, Statement No. 10, “Accounting and Financial
                        Reporting for Risk Financing and Related Insurance Issues” (Nov. 1989) PP 13, 64­
                        72. ↩
                    10. For a comprehensive review of statutes controlling where telephone revenue goes, see
                        Exhibit H in the Reply Comments of the Wright Petitioners to the FCC on April 22,
                        2013, and for an example of how these funds restricted to “Inmate Welfare” are often
                        misused, see Dear Butte County: You Can’t Fleece the Inmate Welfare Fund to Pay
                        for a New Jail. ↩
                    11. See Bureau of Justice Statistics, Justice Expenditures and Employment Extracts, 2012
                        ­ Preliminary, jeeus1201.csv file. ↩
                    12. Nils Christie, Crime Control as Industry, 3rd edition (2000), page 141 fn 4, which
                        Christie calls a low estimate. But like Christie, we think it better to under­estimate
                        than over­estimate. We could identify only one other possible way to identify the
                        portion of judicial and legal expenditures that were criminal law in nature: the
                        National Center for State Courts’ Court Statistics Project finds that, in 2013, state
                        court caseloads were 54% traffic, 21% criminal, 18% civil, 6% domestic relations,
                        and 1.4% juvenile. See: R. LaFountain, S. Strickland, R. Schauffler, K. Holt, and K.
                        Lewis, Examining the Work of State Courts: An Overview of 2013 State Court
                        Caseloads (National Center for State Courts 2015). But given that the data on court
                        caseloads by type includes traffic offenses and other types of cases that would require
                        far less time, attention, and resources than criminal cases, it did not seem possible to
                        base our estimate on the court caseload statistics. ↩
                    13. See Administrative Office of U.S. Courts, Federal Judicial Caseload Statistics: 2015
                        tables C­3 and B­7. ↩
                    14. See Patricia W. Hatamayer Moore, The Civil Caseload of the Federal District Courts,
                        2015 U. of Ill. L. Rev. 1177, 1187­91 (2015). ↩
                    15. See page 2 of Steven W. Perry and Duren Banks, Prosecutors in State Courts, 2007 ­
                        Statistical Tables (Washington, D.C.: Bureau of Justice Statistics, 2011). ↩
                    16. See page 76 of Holly R. Stevens, Colleen E. Sheppard, Robert Spangenberg, Aimee
                        Wickman, and Jon B. Gould, State, County and Local Expenditures for Indigent
                        Defense Services Fiscal Year 2008 (Fairfax, VA: The Spangenberg Project for the
                        American Bar Association, 2010). ↩
                    17. Nils Christie, Crime Control as Industry, 3rd edition (2000), page 138. See also fn 3
                        on page 141 where he calls this a low estimate, but like Christie we think it better to
                        under­ rather than over­estimate. ↩
                    18. See the definitions of terms and concepts for the Bureau of Justice Statistics’ report,
                        Justice Expenditure and Employment Extracts, 2012 ­ Preliminary. ↩
                    19. Alabama, Florida, Georgia, and Texas ↩


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                    20. The “Governmental Employment” section of the Justice Expenditure and Employment
                        Extracts Definitions of Terms and Concepts says that contractors and their employees
                        are excluded from the employees included in the Justice Expenditure and Employment
                        Extracts series. ↩
                    21. The combined capacity of Management & Training Corp’s facilities is 31,962, which
                        is 36% of CoreCivic’s 88,142. Applying that estimate to the dollar value of the
                        contracts, we estimate that Management & Training Corp had $0.6 billion in contracts
                        and $80 million in profits. (Had we based our estimates on GEO Group and the fact
                        that Management & Training Corp’s contracts have 46% of the capacity of GEO
                        Group’s, we would have estimated $0.56 billion in contracts and $63 million in
                        profits.) ↩
                    22. Sixty­five percent of immigration detention facilities are run by the private prison
                        industry under contract with U.S. Immigration and Customs Enforcement. See page 6
                        of Homeland Security Advisory Council, Report on the Subcommittee on Privatized
                        Immigration Detention Facilities (Washington, D.C.: U.S. Department of Homeland
                        Security, 2016). ↩




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